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                            EXHIBIT 20
                                       Case 25-90138
                                            3:20-cv-04102-WHO
                                                      Document 25-20
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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PSARA ENERGY, LTD.,                                  Case No. 20-cv-04102-WHO
                                                          Plaintiff,
                                   8
                                                                                              ORDER TRANSFERRING CASE
                                                    v.
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                                  10     SPACE SHIPPING, LTD., et al.,
                                                          Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13             This action was filed by plaintiff Psara Energy, Ltd. (“Psara”) for the attachment and

                                  14   garnishment of M/T ADVANTAGE SPRING, a vessel owned by defendants docked in this

                                  15   District. On June 26, 2020, I denied defendants Advantage Spring Shipping, LLC, Advantage

                                  16   Tankers, LLC, and Fleetscape Spring, LLC’s (the “Advantage Defendants”) motion to vacate the

                                  17   order of maritime attachment. Dkt. No. 24. I ordered that “upon the posting of $4,325,000 in . . .

                                  18   substitute security, the attachment of the M/T ADVANTAGE SPRING shall then be released,”

                                  19   and “[a]s soon as the substitute security amount is posted, this case will be transferred to the

                                  20   Eastern District of Texas, where parties can properly litigate the security amount.” Id. A special

                                  21   release bond has now been posted, and Psara has filed a notice of release of the vessel. Dkt. Nos.

                                  22   38, 39.

                                  23             Psara filed identical claims in the Eastern District of Texas for the attachment of another

                                  24   vessel owned by defendants – the M/T ADVANTAGE ARROW. See Psara Energy, Ltd. v. Space

                                  25   Shipping, Ltd., et al., Eastern District of Texas, Civil Action No. 1:18-cv-00178-MAC-ZJH.

                                  26   Given that the district court in the Eastern District of Texas has made substantial progress and

                                  27   findings, the interests of justice and convenience of all parties involved permit transfer of this

                                  28   action to the Eastern District of Texas.
                                       Case 25-90138
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                                   1          Pursuant to 28 U.S.C. § 1404(a), this case is HEREBY TRANSFERRED to the Eastern

                                   2   District of Texas, Beaumont Division.

                                   3          IT IS SO ORDERED.

                                   4   Dated: July 6, 2020

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                                                                                             William H. Orrick
                                   7                                                         United States District Judge
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Northern District of California
 United States District Court




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